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                                 UNITED STATES DISTRICT COURT
                                  MIDDLE DISTRICT OF FLORIDA
                                       ORLANDO DIVISION
    UNITED STATES OF AMERICA

    -vs-                                                             Case No. 6:07-cr-103-Orl-31KRS

    JESUS EDEN RAMIREZ, JR. (#9)

    _____________________________________

                                                   ORDER

           Defendant, Jesus Ramirez, Jr. (“Ramirez”) is a United States citizen who lives with his wife

    and two young daughters in Roma, Texas. He lives in a house which he rents from his sister.

    Defendant’s parents recently moved to Texas as permanent resident aliens to be near their children

    and grandchildren. For the past several years, Ramirez has been gainfully employed, earning

    approximately $25,000 per year. He has no prior criminal record, except for a DWI and marijuana

    possession charge in 2003.

           On May 30, 2007, Ramirez and co-defendants, Yamil Gonzalez and David Garcia, were

    caught in a sting operation and charged with conspiracy to possess with intent to distribute more than

    1,000 kilograms of marijuana. Although Ramirez was unknown to authorities until the day of his

    arrest, it appears that he was a significant participant in the conspiracy.

           On July 11, 2007, Magistrate Judge Stephen Smith of the Southern District of Texas (Houston

    Division) held a detention hearing and ordered Ramirez detained pending trial (Doc. 48). Judge Smith

    found that Ramirez had failed to rebut the presumption that he is a flight risk and a danger to the

    community. Ramirez has appealed that Order (Doc. 107) and an evidentiary hearing was held before

    me on October 5, 2007. Defendant’s wife and sister testified at the hearing and the Court has
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    reviewed letters supporting Defendant, the Pretrial Services Report and a transcript of the original

    detention hearing.

           The trial of this case is set for October 29, 2007. Co-defendants, Garcia (detained) and

    Gonzales (on bond) intend to enter guilty pleas. Ramirez has also indicated his intention to plead

    guilty and his change of plea hearing is scheduled for October 26, 2007. Defendant’s sister has agreed

    to pledge her house as security for a bond (estimated value of $85,000); however, it would take some

    time to verify the title and determine the equity in the home. Thus, the offer of security at this point

    is somewhat illusory.

           There is no evidence of violence in Defendant’s background and thus no basis to conclude that

    he represents a danger to the community (except for the drug trafficking allegations). Thus, the

    critical question presented is whether Ramirez poses a serious risk of flight.

           Given the amount of marijuana involved, Defendant’s guideline score will likely suggest a

    lengthy term of imprisonment. Although Ramirez claims to have no family in Mexico, the

    Presentence Report reflects his ownership of property there. Roma, Texas is a border town whose

    inhabitants are largely of Mexican descent. Defendant is not fluent in English.

           Weighing this evidence, the Court finds that the temptation for Defendant to flee is high, the

    opportunity to do so relatively easy, and there is no condition or combination of conditions which will

    reasonably assure the appearance of the Defendant. 18 U.S. C. Sec. 3142(c). Accordingly, it is

           ORDERED that Defendant’s Motion is DENIED. Defendant shall remain in the custody of

    the U.S. Marshal pending further disposition.




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           DONE and ORDERED in Chambers in Orlando, Florida on October 9, 2007.


    Copies furnished to:

    United States Marshal
    United States Attorney
    United States Probation Office
    United States Pretrial Services Office
    Counsel for Defendant
    Jesus Eden Ramirez, Jr. (#9)




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